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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF GEORGIA
                                       MACON DIVISION

 RICHARD PIERSON

               Plaintiff,                             CIVIL ACTION
                                                      FILE NO.: 5:22-cv-134
 v.

 LUIS BATISTA and
 VICTORIA LOGISTICS, LLC,

               Defendants.

                                        NOTICE OF REMOVAL

            COME NOW Defendants LUIS BATISTA and VICTORIA LOGISTICS, LLC,

(hereinafter “Defendants”), and pursuant to 28 U.S.C. § 1441(a) and (c), hereby file this Notice of

Removal, respectfully showing the Court as follows:

                                                      1.

            Plaintiff filed this personal injury action arising from injuries sustained in a motor vehicle

accident in the Superior Court of Monroe County, Georgia, Civil Action File No.

SUCV2021000489 on December 14, 2021. Defendants were served on February 28, 2022. A copy

of all pleadings and process served upon Defendants is attached to Defendants’ Notice of Removal

as Exhibit “1”.

                                 Complete Diversity Jurisdiction Exists

                                                      2.

            Plaintiff is a citizen of the State of Georgia and domiciled in Georgia. See, Exhibit “1” to

Defendant’s Notice of Removal, Complaint ¶ 1.




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                                                    3.

            At the time of the filing of the Complaint and to-date, Defendant Luis Batista is a citizen

and resident of the State of Florida and domiciled therein.

                                                    4.

            Defendant Victoria Logistics, LLC is a single member LLC, held by Defendant Luis

Batista, who is a citizen of the State of Florida and domiciled therein. “[A] limited liability

company is a citizen of any state of which a member of the company is a citizen.” Rolling Greens

MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004). Victoria

Logistics, LLC is a citizen of Florida for purposes of diversity jurisdiction.

                                                    5.

            Therefore, complete diversity of citizenship exists between Plaintiff and Defendants for

purposes of 28 U.S.C. § 1332(c)(1).

                            The Amount in Controversy Exceeds $75,000.00

                                                    6.

            The threshold “amount in controversy” requirement is also met in this case, as the injuries

and categories of claims set forth in the Complaint contemplate damage to Plaintiff which, if

proven and recoverable, will more likely than not exceed the $75,000.00 threshold. See, Kirkland

v. Midland Mortg. Co., 243 F.3d 1277, 1281 n.5 (11th Cir. 2001) (citing Tapscott v. MS Dealer

Serv. Corp., 77 F.3d 1353, 1357 (11th Cir. 1996) (removal allowed where amount in controversy

can “more likely than not be satisfied”).

                                                    7.

            A defendant’s notice of removal “need include only a plausible allegation that the amount

in controversy exceed the jurisdictional threshold . . .” (Dart Cherokee Basin Operating Co., LLC



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v. Owens, 135 S.Ct. 547, 554 (2014)). “Evidence establishing the amount is required by §

1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant's allegation.”

Id. at 554. In reviewing whether notices of removal satisfy the jurisdictional requirements, the

district courts should “apply the same liberal rules [to removal allegations] that are applied to other

matters of pleading.” (Id., citing H.R.Rep. No. 100-889, p. 71).

                                                      8.

            In their Complaint, Plaintiff asserts damages for bodily injuries, pain and suffering, medical

expenses, and lost wages. See, Complaint, ¶ 31. Moreover, Plaintiff also alleges special damages

totaling $109,205.61. See, Complaint, ¶ 32.

                                            Removal is Timely

                                                      9.

            The foregoing action is properly removable to this Court pursuant to 28 U.S.C. §§ 1441(a),

1446(a) and 1446(b), and 1332(a) because there is complete diversity of citizenship between

Plaintiff and Defendants, and the matter in controversy exceeds the sum of $75,000.00.

                                Venue is Proper in the Northern District

                                                     10.

            The United States District Court for the Middle District of Georgia is the proper venue for

removal under 28 U.S.C. § 1441(a) because the Middle District, Macon Division, encompasses

Monroe County. See 28 U.S.C. § 90(a)(2).

                                The Unanimity Requirement is Met Here

                                                     11.

            The Supreme Court has construed the removal statues to require all defendants in a case to

consent to removal, thus creating the so-called “unanimity requirement.” See Russell Corp. v.



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Am. Home Assurance Co., 264 F.3d 1040, 1050 (11th Cir. 2001)(citing Chicago, Rock Island, &

Pac. Ry. Co. v. Martin, 178 U.S. 245, 247-48 (1900)). All Defendants consent to this Notice of

Removal.

                                            Removal is Proper

                                                    12.

            No previous application for the relief sought herein has been made to this or any other

Court.

                                                    13.

            Good and sufficient defenses to Plaintiff’s claims exist.

                                                    14.

            Within thirty (30) days after service on Defendants, notice is hereby given in accordance

with 28 U.S.C. § 1446 and Rule 11 of the Federal Rules of Civil Procedure of the removal of said

action to this Court.

                                                    15.

            Defendants have given written notice of the filing of the Notice of Removal to Plaintiffs

and to the Clerk of the State Court of Cobb County. A copy of the Notice of Filing Notice of

Removal is attached to Defendant’s Notice of Removal as Exhibit “2”.

                                                    16.

            WHEREFORE it is hereby requested that this Court grant the removal of this case to the

United States District Court for the Middle District of Georgia, in which district this suit is pending.

            Respectfully submitted this 30th day of March, 2022.

                                      [signature on following page]




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                                              MCMICKLE, KUREY & BRANCH, LLP

                                              /s/ Matthew R. Sessions
                                              SCOTT W. MCMICKLE
                                              Georgia Bar No. 497779
                                              MATTHEW R. SESSIONS
                                              Georgia Bar No. 899806
                                              Attorneys for Defendants

217 Roswell Road, Suite 200
Alpharetta, Georgia 30009
Telephone: (678) 824-7800
Facsimile: (678) 824-7801
swm@mkblawfirm.com
msessions@mkblawfirm.com




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                                    CERTIFICATE OF SERVICE

            This is to certify that I have this day served a true and correct copy of the within and

foregoing NOTICE OF REMOVAL by e-filing same with the CM/ECF-GA electronic filing

system which will send email notification to all counsel as follows:

                                          Jan P. Cohen, Esq.
                                        Kenneth S. Nugent, PC
                                        4227 Pleasant Hill Road
                                         Building 11, Suite 300
                                          Duluth, GA 30096
                                    jcohen@attorneykennugent.com
                                         Attorney for Plaintiff

            This 30th day of March, 2022.


                                                /s/ Matthew R. Sessions
                                                MATTHEW R. SESSIONS
                                                For the Firm




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